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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )
                                                  )         No. 6:23-CR-59-REW-HAI-2
 v.                                               )
                                                  )                    ORDER
 MICHAEL BASALYGA,                                )
                                                  )
       Defendant.                                 )

                                        *** *** *** ***

       After conducting Rule 11 proceedings, see DE 14 (Minute Entry), Judge Ingram

recommended that the undersigned accept Defendant Michael Basalyga’s guilty plea and adjudge

him guilty of the Information (DE 12, Counts 1 and 3). See DE 27 (Recommendation); see also

DE 23 (Plea Agreement). Judge Ingram expressly informed Defendant of his right to object to the

recommendation and to secure de novo review from the undersigned. See DE 27 at 3. The

established three-day objection deadline has passed, and no party has objected.

       The Court is not required to “review . . . a magistrate[ judge]’s factual or legal conclusions,

under a de novo or any other standard, when neither party objects to those findings.” Thomas v.

Arn, 106 S. Ct. 466, 472 (1985); see also Berkshire v. Dahl, 928 F.3d 520, 530 (6th Cir. 2019)

(quoting Kensu v. Haigh, 87 F.3d 172, 176 (6th Cir. 1996)) (alterations adopted) (noting that the

Sixth Circuit has “long held that, when a defendant does ‘not raise an argument in his objections

to the magistrate judge’s report and recommendation he has forfeited his right to raise this issue

on appeal’”); United States v. Olano, 113 S. Ct. 1770, 1777 (1993) (distinguishing waiver and

forfeiture); FED. R. CRIM. P. 59(b)(2)–(3) (limiting de novo review duty to “any objection” filed);




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28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the recommendation

“to which objection is made”).

        The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

        1. The Court ADOPTS DE 27, ACCEPTS Defendant’s guilty plea, and ADJUDGES

             Defendant guilty of the Information (Counts 1 and 3);

        2.    Further, per Judge Ingram’s recommendation, the Defendant’s plea agreement (DE

             23 ¶ 11), and an audit of the rearraignment hearing, the Court provisionally FINDS that

             the property identified in the Information’s Forfeiture Allegations, DE 12 at 5–6 (the

             real property, vehicle, currency, cryptocurrency, and personal property), is forfeitable.

             Defendant has an interest in said property, and the Court preliminarily ADJUDGES

             Defendant’s interest in such property FORFEITED. Under Criminal Rule 32.2, and

             absent pre-judgment objection, “the preliminary forfeiture order becomes final as to”

             Defendant at sentencing. Fed. R. Crim. P. 32.2 (b)(4)(A). The Court will further address

             forfeiture, and reflect any administrative forfeiture that is concluded, at that time. See

             id. at (b)(4)(B). To the extent the forfeiture encompasses a money judgment, the United

             States shall file a motion substantiating any claimed total within 30 days, and the

             defense may respond within 15 additional days from the filing—both parties shall

             indicate the need for a separate hearing on the judgment amount; and

        3. The Court will issue a separate sentencing order. 1

        This the 16th of November, 2023.



1
  Judge Ingram preserved Basalyga’s status, ordered him to remain on bond pending sentencing, and recommended
his continued release upon the Court’s acceptance of his guilty plea. See DE 14; DE 27 at 2. Accordingly, the Court
finds that Basalyga will remain on bond pending sentencing, subject to intervening orders.


                                                        2
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